             19-36465-cgm             Doc 1        Filed 09/12/19           Entered 09/12/19 10:52:50                   Main Document
                                                                           Pg 1 of 44
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Birches at Schoharie, L.P.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  104 Smith Avenue
                                  Kingston, NY 12401
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Ulster                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  192 Main Street Schoharie, NY
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
             19-36465-cgm               Doc 1           Filed 09/12/19         Entered 09/12/19 10:52:50                          Main Document
                                                                              Pg 2 of 44
Debtor    Birches at Schoharie, L.P.                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
            19-36465-cgm             Doc 1           Filed 09/12/19         Entered 09/12/19 10:52:50                       Main Document
                                                                           Pg 3 of 44
Debtor   Birches at Schoharie, L.P.                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
            19-36465-cgm                 Doc 1     Filed 09/12/19          Entered 09/12/19 10:52:50                        Main Document
                                                                          Pg 4 of 44
Debtor    Birches at Schoharie, L.P.                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 12, 2019
                                                  MM / DD / YYYY


                             X   /s/ Stephen Fell                                                         Stephen Fell
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Authorized Signer




18. Signature of attorney    X   /s/ Michelle L. Trier                                                     Date September 12, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michelle L. Trier 1212
                                 Printed name

                                 Genova & Malin
                                 Firm name

                                 1136 Route 9
                                 Wappingers Falls, NY 12590
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     845-298-1600                  Email address


                                 1212 NY
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
          19-36465-cgm                    Doc 1          Filed 09/12/19             Entered 09/12/19 10:52:50                Main Document
                                                                                   Pg 5 of 44




 Fill in this information to identify the case:

 Debtor name         Birches at Schoharie, L.P.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 12, 2019                      X /s/ Stephen Fell
                                                                       Signature of individual signing on behalf of debtor

                                                                       Stephen Fell
                                                                       Printed name

                                                                       Authorized Signer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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               19-36465-cgm                    Doc 1          Filed 09/12/19         Entered 09/12/19 10:52:50                             Main Document
                                                                                    Pg 6 of 44

 Fill in this information to identify the case:
 Debtor name Birches at Schoharie, L.P.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Albany Electric, Inc.                                          Business debt           Contingent                                                                        $27,296.66
 548 State Highway                                                                      Unliquidated
 30                                                                                     Disputed
 Esperance, NY
 12066
 Automatic Door                                                 Business debt           Contingent                                                                          $1,928.00
 Doctor, Inc.                                                                           Unliquidated
 121 N. Plains                                                                          Disputed
 Industrial Road B
 Wallingford, CT
 06492
 CR Drywall                                                     Business debt           Contingent                                                                        $53,872.78
 Company, Inc.                                                                          Unliquidated
 11 Drywall Lane, #3                                                                    Disputed
 Voorheesville, NY
 12186
 Dave McArthur                                                  Business debt           Contingent                                                                          $3,566.60
                                                                                        Unliquidated
                                                                                        Disputed
 Interior Craftsman,                                            Business debt           Contingent                                                                        $40,610.05
 Inc.                                                                                   Unliquidated
 1 Sasev Court, #002                                                                    Disputed
 Monroe, NY 10950
 Jersey Montana                                                 Business debt                                                                                             $20,000.00
 Corp.                                                          (legal fees)
 104 Smith Avenue
 Kingston, NY 12401
 JJP Slipforming,                                               Business debt           Contingent                                                                        $11,460.67
 Inc.                                                                                   Unliquidated
 145 Wells Avenue                                                                       Disputed
 Middleburgh, NY
 12122
 Juan Joel Gopar                                                Business debt           Contingent                                                                          $2,111.80
 18 West Street                                                                         Unliquidated
 Wappingers Falls,                                                                      Disputed
 NY 12590



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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               19-36465-cgm                    Doc 1          Filed 09/12/19         Entered 09/12/19 10:52:50                             Main Document
                                                                                    Pg 7 of 44

 Debtor    Birches at Schoharie, L.P.                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 KJW Associates,                                                Business debt           Contingent                                                                        $15,029.00
 LLC                                                                                    Unliquidated
 PO Box 196                                                                             Disputed
 Pultneyville, NY
 14538
 Kurzon Architects                                              Business debt           Contingent                                                                      $390,000.00
 90 State Street                                                                        Unliquidated
 Albany, NY 12207                                                                       Disputed
 Pratt Plumbing                                                 Business debt           Contingent                                                                        $37,125.00
 67 Phillips Road                                                                       Unliquidated
 Rensselaer, NY                                                                         Disputed
 12144
 Proctor Painting Co.                                           Business debt           Contingent                                                                        $11,430.00
 121 Clocks                                                                             Unliquidated
 Boulevard                                                                              Disputed
 Massapequa, NY
 11758
 RBM Guardian Fire                                              Business debt           Contingent                                                                        $10,913.40
 Protection Inc.                                                                        Unliquidated
 8 Enterprise Drive                                                                     Disputed
 Albany, NY 12204
 Rivergate                                                      Development             Contingent                                                                    $6,300,000.00
 Development LLC                                                fees/mechanics          Unliquidated
 104 Smith Avenue                                               lien bonding fees
 Kingston, NY 12401
 Rob Kniese & Son                                               Business debt           Contingent                                                                        $29,868.40
 Building LLC                                                                           Unliquidated
 460 Depot Road                                                                         Disputed
 Duanesburg, NY
 12056
 Schachtler                                                     Business debt           Contingent                                                                        $10,287.05
 Contracting Inc.                                                                       Unliquidated
 7430 Shanley Road                                                                      Disputed
 Deansboro, NY
 13328
 Schindler Elevator                                             Business debt           Contingent                                                                          $4,700.00
 Corp.                                                                                  Unliquidated
 35 High Street                                                                         Disputed
 Poughkeepsie, NY
 12601
 Stark Industries                                               Business debt           Contingent                                                                          $2,650.50
 235 Vly Road                                                                           Unliquidated
 Schenectady, NY                                                                        Disputed
 12302
 Villnave                                                       Business debt           Contingent                                                                          $4,537.10
 Construction                                                                           Unliquidated
 Services                                                                               Disputed
 883 Broadway
 Albany, NY 12207




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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               19-36465-cgm                    Doc 1          Filed 09/12/19         Entered 09/12/19 10:52:50                             Main Document
                                                                                    Pg 8 of 44

 Debtor    Birches at Schoharie, L.P.                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 William O'Rourke                                               Business debt           Contingent                                                                        $10,004.40
 Inc.                                                                                   Unliquidated
 299 Upper Flat Rock                                                                    Disputed
 Road
 Voorheesville, NY
 12186




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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           19-36465-cgm                           Doc 1               Filed 09/12/19                     Entered 09/12/19 10:52:50                                                 Main Document
                                                                                                        Pg 9 of 44
 Fill in this information to identify the case:

 Debtor name            Birches at Schoharie, L.P.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                           Check if this is an
                                                                                                                                                                                           amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                      $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                         $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                        $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                      $       11,790,775.88


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                         $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                 +$        6,992,178.50


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                               $         18,782,954.38




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                     page 1
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           19-36465-cgm                   Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                Main Document
                                                                       Pg 10 of 44
 Fill in this information to identify the case:

 Debtor name         Birches at Schoharie, L.P.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 1
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            19-36465-cgm                  Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                      Main Document
                                                                       Pg 11 of 44
 Debtor         Birches at Schoharie, L.P.                                                    Case number (If known)
                Name


        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Senior housing
                     project located at 192
                     Main Street,                         Equitable
                     Schoharie, New York                  interest                     Unknown                                              Unknown




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 2
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          19-36465-cgm                    Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                     Main Document
                                                                       Pg 12 of 44
 Debtor         Birches at Schoharie, L.P.                                                   Case number (If known)
                Name



        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                            Current value of
                                                                                                                            debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Birches at Schoharie, L.P. v. Banc of America CDC
           Special Holding Company Inc. and Bank of America,
           N.A.                                                                                                                         Unknown
           Nature of claim         Breach of Contract / Fraud
           Amount requested                    $25,000,000.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                               $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
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            19-36465-cgm                     Doc 1            Filed 09/12/19 Entered 09/12/19 10:52:50                                           Main Document
                                                                            Pg 13 of 44
 Debtor          Birches at Schoharie, L.P.                                                                          Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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           19-36465-cgm                     Doc 1        Filed 09/12/19 Entered 09/12/19 10:52:50                                Main Document
                                                                       Pg 14 of 44
 Fill in this information to identify the case:

 Debtor name         Birches at Schoharie, L.P.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   AllTek Energy Systems Inc.                     Describe debtor's property that is subject to a lien                     Unknown                  Unknown
       Creditor's Name                                Senior housing project located at 192 Main
                                                      Street, Schoharie, New York
       58 Hudson River Road
       Waterford, NY 12188
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       1. Bank of America, N.A.
       2. Bank of America, N.A.
       3. AllTek Energy Systems
       Inc.
       4. American Builders &
       Contractors Supply
       5. B.A. Construction
       Services, LLC
       6. Bervy Excavation Corp.
       7. Best Paving &
       Sealcoating Inc.
       8. Blue Mountain
       Contractors, Inc.
       9. Bruce Fence Co., Inc.
       10. Core Building Materials
       of Albany, Inc.
       11. Debrino C

       American Builders &
 2.2                                                                                                                           Unknown                  Unknown
       Contractors Supply                             Describe debtor's property that is subject to a lien



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 9
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          19-36465-cgm                      Doc 1        Filed 09/12/19 Entered 09/12/19 10:52:50                               Main Document
                                                                       Pg 15 of 44
 Debtor       Birches at Schoharie, L.P.                                                               Case number (if know)
              Name

       Creditor's Name                                Senior housing project located at 192 Main
                                                      Street, Schoharie, New York
       95 Van Guysling Avenue
       Schenectady, NY 12305
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

       B.A. Construction Services,
 2.3                                                                                                                           Unknown     Unknown
       LLC                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                Senior housing project located at 192 Main
                                                      Street, Schoharie, New York
       1 Mill Road
       Latham, NY 12110
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

 2.4   Bank of America, N.A.                          Describe debtor's property that is subject to a lien               $11,383,689.97    Unknown
       Creditor's Name                                Senior housing project located at 192 Main
       One Bryant Park, 35th                          Street, Schoharie, New York
       Floor
       New York, NY 10036
       Creditor's mailing address                     Describe the lien
                                                      Mortgage (Building loan)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 9
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          19-36465-cgm                      Doc 1        Filed 09/12/19 Entered 09/12/19 10:52:50                                  Main Document
                                                                       Pg 16 of 44
 Debtor       Birches at Schoharie, L.P.                                                               Case number (if know)
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.5   Bank of America, N.A.                          Describe debtor's property that is subject to a lien                     $407,085.91    Unknown
       Creditor's Name                                Senior housing project located at 192 Main
                                                      Street, Schoharie, New York
       One Bryant Park
       New York, NY 10036
       Creditor's mailing address                     Describe the lien
                                                      Project Loan Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.6   Bervy Excavation Corp.                         Describe debtor's property that is subject to a lien                       Unknown      Unknown
       Creditor's Name                                Senior housing project located at 192 Main
                                                      Street, Schoharie, New York
       61 Flints Crossing Road
       Canaan, NY 12029
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

       Best Paving & Sealcoating
 2.7                                                                                                                             Unknown      Unknown
       Inc.                                           Describe debtor's property that is subject to a lien
       Creditor's Name                                Senior housing project located at 192 Main
       1349 Broadway, Building                        Street, Schoharie, New York
       2E
       Albany, NY 12204
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 3 of 9
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          19-36465-cgm                      Doc 1        Filed 09/12/19 Entered 09/12/19 10:52:50                               Main Document
                                                                       Pg 17 of 44
 Debtor       Birches at Schoharie, L.P.                                                               Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

       Blue Mountain Contractors,
 2.8                                                                                                                           Unknown     Unknown
       Inc.                                           Describe debtor's property that is subject to a lien
       Creditor's Name                                Senior housing project located at 192 Main
                                                      Street, Schoharie, New York
       53 Meghan Drive
       Saugerties, NY 12477
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

 2.9   Bruce Fence Co., Inc.                          Describe debtor's property that is subject to a lien                     Unknown     Unknown
       Creditor's Name                                Senior housing project located at 192 Main
                                                      Street, Schoharie, New York
       1161 New Loudon Road
       Cohoes, NY 12047
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 4 of 9
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          19-36465-cgm                      Doc 1        Filed 09/12/19 Entered 09/12/19 10:52:50                               Main Document
                                                                       Pg 18 of 44
 Debtor       Birches at Schoharie, L.P.                                                               Case number (if know)
              Name



 2.1   Core Building Materials of
 0     Albany, Inc.                                   Describe debtor's property that is subject to a lien                     Unknown     Unknown
       Creditor's Name                                Senior housing project located at 192 Main
                                                      Street, Schoharie, New York
       117 Karner Road
       Albany, NY 12205
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

 2.1   Debrino Caulking
 1     Associates Inc.                                Describe debtor's property that is subject to a lien                     Unknown     Unknown
       Creditor's Name                                Senior housing project located at 192 Main
       1304 Route 9                                   Street, Schoharie, New York
       Castleton on Hudson, NY
       12033
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

 2.1
 2     Hot Water Solutions, Inc.                      Describe debtor's property that is subject to a lien                     Unknown     Unknown
       Creditor's Name                                Senior housing project located at 192 Main
                                                      Street, Schoharie, New York
       31 Stone Road
       West Hurley, NY 12491
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 5 of 9
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          19-36465-cgm                      Doc 1        Filed 09/12/19 Entered 09/12/19 10:52:50                               Main Document
                                                                       Pg 19 of 44
 Debtor       Birches at Schoharie, L.P.                                                               Case number (if know)
              Name

                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

 2.1   Integral Building and
 3     Design, Inc.                                   Describe debtor's property that is subject to a lien                     Unknown     Unknown
       Creditor's Name                                Senior housing project located at 192 Main
                                                      Street, Schoharie, New York
       231 Main Street, Suite 103
       New Paltz, NY 12561
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

 2.1
 4     Meyer Contracting Corp.                        Describe debtor's property that is subject to a lien                     Unknown     Unknown
       Creditor's Name                                Senior housing project located at 192 Main
                                                      Street, Schoharie, New York
       12 Charles Street
       Pleasant Valley, NY 12569
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

 2.1   New York State Dept. of
 5     Tax & Finance                                  Describe debtor's property that is subject to a lien                     Unknown     Unknown



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 6 of 9
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          19-36465-cgm                      Doc 1        Filed 09/12/19 Entered 09/12/19 10:52:50                               Main Document
                                                                       Pg 20 of 44
 Debtor       Birches at Schoharie, L.P.                                                               Case number (if know)
              Name

       Creditor's Name                                Senior housing project located at 192 Main
       Civil Enforcement-CO-ATC                       Street, Schoharie, New York
       W A Harriman Campus
       Albany, NY 12227
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

 2.1
 6     Stone Industries LLC                           Describe debtor's property that is subject to a lien                     Unknown     Unknown
       Creditor's Name                                Senior housing project located at 192 Main
       4305 Route 50                                  Street, Schoharie, New York
       Saratoga Springs, NY
       12866
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

 2.1
 7     Temp-Air, Inc.                                 Describe debtor's property that is subject to a lien                     Unknown     Unknown
       Creditor's Name                                Senior housing project located at 192 Main
       3700 W. Preserve                               Street, Schoharie, New York
       Boulevard
       Burnsville, MN 55337
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 7 of 9
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          19-36465-cgm                      Doc 1        Filed 09/12/19 Entered 09/12/19 10:52:50                               Main Document
                                                                       Pg 21 of 44
 Debtor       Birches at Schoharie, L.P.                                                               Case number (if know)
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

 2.1
 8     The Palombo Group Inc.                         Describe debtor's property that is subject to a lien                     Unknown     Unknown
       Creditor's Name                                Senior housing project located at 192 Main
                                                      Street, Schoharie, New York
       6030 Route 82
       Stanfordville, NY 12581
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

 2.1
 9     Versatile Office and Trailer                   Describe debtor's property that is subject to a lien                     Unknown     Unknown
       Creditor's Name                                Senior housing project located at 192 Main
                                                      Street, Schoharie, New York
       527 Route 31
       Port Byron, NY 13140
       Creditor's mailing address                     Describe the lien
                                                      Mechanics Lien (lien has been bonded)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

 2.2
 0     Village of Schoharie                           Describe debtor's property that is subject to a lien                     Unknown     Unknown
       Creditor's Name                                Senior housing project located at 192 Main
                                                      Street, Schoharie, New York
       PO Box 219
       Schoharie, NY 12157
       Creditor's mailing address                     Describe the lien


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 8 of 9
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           19-36465-cgm                     Doc 1        Filed 09/12/19 Entered 09/12/19 10:52:50                                  Main Document
                                                                       Pg 22 of 44
 Debtor       Birches at Schoharie, L.P.                                                               Case number (if know)
              Name

                                                      Utility services dispute
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       Specified on line 2.1

                                                                                                                               $11,790,775.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        88

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Alston & Bird LLP
        90 Park Avenue                                                                                          Line   2.4
        New York, NY 10016

        Holland & Knight
        10 St. James Avenue                                                                                     Line   2.4
        Attn: James McDermott, Esq.
        Boston, MA 02116

        Nixon Peabody LLP
        437 Madison Avenue                                                                                      Line   2.4
        Attn: John Kelly, Esq.
        New York, NY 10022-7039

        Wilson Elser Moskowitz Edelman & Dicker
        18 Corporate Woods Boulevard, 3rd Floor                                                                 Line   2.4
        Attn: Christopher Priore, Esq.
        Albany, NY 12211




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 9 of 9
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           19-36465-cgm                   Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                                        Main Document
                                                                       Pg 23 of 44
 Fill in this information to identify the case:

 Debtor name         Birches at Schoharie, L.P.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $27,296.66
           Albany Electric, Inc.                                                Contingent
           548 State Highway 30
                                                                                Unliquidated
           Esperance, NY 12066
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,928.00
           Automatic Door Doctor, Inc.                                          Contingent
           121 N. Plains Industrial Road B
                                                                                Unliquidated
           Wallingford, CT 06492
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Banc of America Special Holding Company                              Contingent
           225 Franklin Street
                                                                                Unliquidated
           Boston, MA 02110
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Special Limited Partner
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Birchez Associates, LLC                                              Contingent
           104 Smith Avenue
                                                                                Unliquidated
           Kingston, NY 12401
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Development fee
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 5
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          19-36465-cgm                    Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                                        Main Document
                                                                       Pg 24 of 44
 Debtor       Birches at Schoharie, L.P.                                                              Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,638.35
          Capital District Exterior Solutions                                   Contingent
          570 Park Avenue
                                                                                Unliquidated
          Albany, NY 12208
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $53,872.78
          CR Drywall Company, Inc.                                              Contingent
          11 Drywall Lane, #3
                                                                                Unliquidated
          Voorheesville, NY 12186
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,566.60
          Dave McArthur                                                         Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $666.67
          DW Stinson & Sons                                                     Contingent
          124 Main Street
                                                                                Unliquidated
          PO Box 44
          Schoharie, NY 12157                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Business debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $277.32
          Eastern View Landscaping                                              Contingent
          11 Huber Road
                                                                                Unliquidated
          Wappingers Falls, NY 12590
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $754.75
          Fuzzy Side Up                                                         Contingent
          11 Running Water Court
                                                                                Unliquidated
          Medford, NJ 08055
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,610.05
          Interior Craftsman, Inc.                                              Contingent
          1 Sasev Court, #002
                                                                                Unliquidated
          Monroe, NY 10950
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 5
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          19-36465-cgm                    Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                                        Main Document
                                                                       Pg 25 of 44
 Debtor       Birches at Schoharie, L.P.                                                              Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Jersey Montana Corp.                                                  Contingent
          104 Smith Avenue                                                      Unliquidated
          Kingston, NY 12401                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt (legal fees)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,460.67
          JJP Slipforming, Inc.                                                 Contingent
          145 Wells Avenue
                                                                                Unliquidated
          Middleburgh, NY 12122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,111.80
          Juan Joel Gopar                                                       Contingent
          18 West Street
                                                                                Unliquidated
          Wappingers Falls, NY 12590
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,029.00
          KJW Associates, LLC                                                   Contingent
          PO Box 196
                                                                                Unliquidated
          Pultneyville, NY 14538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $390,000.00
          Kurzon Architects                                                     Contingent
          90 State Street
                                                                                Unliquidated
          Albany, NY 12207
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,125.00
          Pratt Plumbing                                                        Contingent
          67 Phillips Road
                                                                                Unliquidated
          Rensselaer, NY 12144
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,430.00
          Proctor Painting Co.                                                  Contingent
          121 Clocks Boulevard
                                                                                Unliquidated
          Massapequa, NY 11758
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 5
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          19-36465-cgm                    Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                                        Main Document
                                                                       Pg 26 of 44
 Debtor       Birches at Schoharie, L.P.                                                              Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,913.40
          RBM Guardian Fire Protection Inc.                                     Contingent
          8 Enterprise Drive
                                                                                Unliquidated
          Albany, NY 12204
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $6,300,000.00
          Rivergate Development LLC                                             Contingent
          104 Smith Avenue
                                                                                Unliquidated
          Kingston, NY 12401
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Development fees/mechanics lien bonding fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,868.40
          Rob Kniese & Son Building LLC                                         Contingent
          460 Depot Road
                                                                                Unliquidated
          Duanesburg, NY 12056
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,287.05
          Schachtler Contracting Inc.                                           Contingent
          7430 Shanley Road
                                                                                Unliquidated
          Deansboro, NY 13328
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,700.00
          Schindler Elevator Corp.                                              Contingent
          35 High Street
                                                                                Unliquidated
          Poughkeepsie, NY 12601
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,650.50
          Stark Industries                                                      Contingent
          235 Vly Road
                                                                                Unliquidated
          Schenectady, NY 12302
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,450.00
          TQ Construction Inc.                                                  Contingent
          151 Sprout Road
                                                                                Unliquidated
          Valley Falls, NY 12185
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 5
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           19-36465-cgm                   Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                                        Main Document
                                                                       Pg 27 of 44
 Debtor       Birches at Schoharie, L.P.                                                              Case number (if known)
              Name

 3.26      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,537.10
           Villnave Construction Services                                       Contingent
           883 Broadway
                                                                                Unliquidated
           Albany, NY 12207
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?       No     Yes

 3.27      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $10,004.40
           William O'Rourke Inc.                                                Contingent
           299 Upper Flat Rock Road
                                                                                Unliquidated
           Voorheesville, NY 12186
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                     6,992,178.50

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        6,992,178.50




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 5
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          19-36465-cgm                    Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                       Main Document
                                                                       Pg 28 of 44
 Fill in this information to identify the case:

 Debtor name         Birches at Schoharie, L.P.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Development
             lease is for and the nature of               Agreement for the
             the debtor's interest                        senior housing project
                                                          located at 192 Main
                                                          Street, Schoharie, New
                                                          York
                  State the term remaining
                                                                                       Birchez Associates, LLC
             List the contract number of any                                           104 Smith Avenue
                   government contract                                                 Kingston, NY 12401


 2.2.        State what the contract or                   Housing management
             lease is for and the nature of               contract for project
             the debtor's interest                        located at 192 Main
                                                          Street, Schoharie, New
                                                          York;
                                                          Annual, automatic
                                                          renewal contract
                  State the term remaining
                                                                                       Rondout Properties Ltd.
             List the contract number of any                                           104 Smith Avenue
                   government contract                                                 Kingston, NY 12401


 2.3.        State what the contract or                   Declaration of Interest
             lease is for and the nature of               and Nominee
             the debtor's interest                        Agreement (Names
                                                          debtor holder of the
                                                          beneficial and equitable
                                                          interest in the project;
                                                          Schoharie Senior
                                                          Housing Development
                                                          Fund Corporation legal
                                                          title owner of
                                                          project/property)
                  State the term remaining                                             Schoharie Senior Housing Development
                                                                                       Fund Corporation
             List the contract number of any                                           c/o Birchez Assoc.; 104 Smith Ave.
                   government contract                                                 Kingston, NY 12401



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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          19-36465-cgm                    Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                     Main Document
                                                                       Pg 29 of 44
 Debtor 1 Birches at Schoharie, L.P.                                                         Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 2
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          19-36465-cgm                    Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                    Main Document
                                                                       Pg 30 of 44
 Fill in this information to identify the case:

 Debtor name         Birches at Schoharie, L.P.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Schoharie Senior                  104 Smith Avenue                                  Miscellaneous                      D
             Housing Devt                      Kingston, NY 12401                                creditors                          E/F
             Fund Corp                                                                                                              G




    2.2      Schoharie Senior                  104 Smith Avenue                                  Bank of America,                   D
             Housing Devt.                     Kingston, NY 12401                                N.A.                               E/F
             Fund Corp                                                                                                              G




    2.3      Steven Aaron                      104 Smith Avenue                                  Miscellaneous                      D
                                               Kingston, NY 12401                                creditors                          E/F
                                                                                                                                    G




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 1
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           19-36465-cgm                   Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                                 Main Document
                                                                       Pg 31 of 44


 Fill in this information to identify the case:

 Debtor name         Birches at Schoharie, L.P.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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           19-36465-cgm                   Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                                     Main Document
                                                                       Pg 32 of 44
 Debtor       Birches at Schoharie, L.P.                                                                Case number (if known)



           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Bank of America, N.A. v.                         Foreclosure                Schoharie County Supreme                      Pending
               Birches at Schoharie, L.P.                       proceeding                 Court                                         On appeal
               Index No. 2017-354
                                                                                                                                         Concluded

       7.2.    Birches at Schoharie, LP, et al                  Fraud and Breach           Ulster County Supreme                         Pending
               v. Banc of America CDC                           of Contract claims         Court                                         On appeal
               Special Holding Company,                                                    285 Wall Street
                                                                                                                                         Concluded
               Inc. and Bank of America, NA                                                Kingston, NY 12401


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None

       Custodian's name and Address                             Describe the property                                                    Value
       Bank of America, N.A.                                    192 Main Street, Schoharie, New York
                                                                (Senior housing project)                                                                    Unknown

                                                                Case title                                                               Court name and address
                                                                Bank of America v. Birches at Schoharie                                  Schoharie County
                                                                Case number                                                              Supreme
                                                                2017-354
                                                                Date of order or assignment
                                                                11/28/2018


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                              Value




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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           19-36465-cgm                   Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                                   Main Document
                                                                       Pg 33 of 44
 Debtor        Birches at Schoharie, L.P.                                                                  Case number (if known)



 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss     Value of property
       how the loss occurred                                                                                                                              lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates          Total amount or
                 the transfer?                                                                                                                         value
                 Address
       11.1.     Genova & Malin
                 1136 Route 9                                                                                                  September
                 Wappingers Falls, NY 12590                          Attorneys' Fees                                           11, 2019           $18,283.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Jersey Montana Corp.



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers       Total amount or
                                                                                                                        were made                      value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                     Date transfer      Total amount or
                Address                                         payments received or debts paid in exchange                was made                    value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply



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           19-36465-cgm                   Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                                Main Document
                                                                       Pg 34 of 44
 Debtor      Birches at Schoharie, L.P.                                                                 Case number (if known)



                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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          19-36465-cgm                    Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                                  Main Document
                                                                       Pg 35 of 44
 Debtor      Birches at Schoharie, L.P.                                                                 Case number (if known)



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
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          19-36465-cgm                    Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                                Main Document
                                                                       Pg 36 of 44
 Debtor      Birches at Schoharie, L.P.                                                                 Case number (if known)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Stuart Koch                                                                                                          2014 - 2017
                    Koch Group & Co., LLP
                    333 Seventh Avenue, Floor 8
                    New York, NY 10001-5118

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Schoharie Senior General                       104 Smith Avenue                                    Managing General Partner              .005%
       Partner LLC                                    Kingston, NY 12401

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Schoharie Housing                                                                                  Co-General Partner                    .005%
       Corporation

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Bank of America, N.A.                          One Bryant Park, 35th Floor                         Investor Limited Partner              99.99%
                                                      New York, NY 10036

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Banc of America Special                        225 Franklin Street                                 Special Limited Partner               0%
       Holding Company                                Boston, MA 02110



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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          19-36465-cgm                    Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                                Main Document
                                                                       Pg 37 of 44
 Debtor      Birches at Schoharie, L.P.                                                                 Case number (if known)




            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 12, 2019

 /s/ Stephen Fell                                                       Stephen Fell
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Authorized Signer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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          19-36465-cgm                    Doc 1          Filed 09/12/19 Entered 09/12/19 10:52:50                   Main Document
                                                                       Pg 38 of 44




                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Birches at Schoharie, L.P.                                                                   Case No.
                                                                                   Debtor(s)             Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Authorized Signer of the partnership named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       September 12, 2019                                         /s/ Stephen Fell
                                                                        Stephen Fell/Authorized Signer
                                                                        Signer/Title




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    19-36465-cgm   Doc 1   Filed 09/12/19 Entered 09/12/19 10:52:50   Main Document
                                         Pg 39 of 44

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                           ALBANY ELECTRIC, INC.
                           548 STATE HIGHWAY 30
                           ESPERANCE, NY 12066


                           ALLTEK ENERGY SYSTEMS INC.
                           58 HUDSON RIVER ROAD
                           WATERFORD, NY 12188


                           ALSTON & BIRD LLP
                           90 PARK AVENUE
                           NEW YORK, NY 10016


                           AMERICAN BUILDERS & CONTRACTORS SUPPLY
                           95 VAN GUYSLING AVENUE
                           SCHENECTADY, NY 12305


                           AUTOMATIC DOOR DOCTOR, INC.
                           121 N. PLAINS INDUSTRIAL ROAD B
                           WALLINGFORD, CT 06492


                           B.A. CONSTRUCTION SERVICES, LLC
                           1 MILL ROAD
                           LATHAM, NY 12110


                           BANC OF AMERICA SPECIAL HOLDING COMPANY
                           225 FRANKLIN STREET
                           BOSTON, MA 02110


                           BANK OF AMERICA, N.A.
                           ONE BRYANT PARK, 35TH FLOOR
                           NEW YORK, NY 10036


                           BANK OF AMERICA, N.A.
                           ONE BRYANT PARK
                           NEW YORK, NY 10036


                           BERVY EXCAVATION CORP.
                           61 FLINTS CROSSING ROAD
                           CANAAN, NY 12029


                           BEST PAVING & SEALCOATING INC.
                           1349 BROADWAY, BUILDING 2E
                           ALBANY, NY 12204
19-36465-cgm   Doc 1   Filed 09/12/19 Entered 09/12/19 10:52:50   Main Document
                                     Pg 40 of 44


                       BIRCHEZ ASSOCIATES, LLC
                       104 SMITH AVENUE
                       KINGSTON, NY 12401


                       BLUE MOUNTAIN CONTRACTORS, INC.
                       53 MEGHAN DRIVE
                       SAUGERTIES, NY 12477


                       BRUCE FENCE CO., INC.
                       1161 NEW LOUDON ROAD
                       COHOES, NY 12047


                       CAPITAL DISTRICT EXTERIOR SOLUTIONS
                       570 PARK AVENUE
                       ALBANY, NY 12208


                       CORE BUILDING MATERIALS OF ALBANY, INC.
                       117 KARNER ROAD
                       ALBANY, NY 12205


                       CR DRYWALL COMPANY, INC.
                       11 DRYWALL LANE, #3
                       VOORHEESVILLE, NY 12186


                       DAVE MCARTHUR



                       DEBRINO CAULKING ASSOCIATES INC.
                       1304 ROUTE 9
                       CASTLETON ON HUDSON, NY 12033


                       DW STINSON & SONS
                       124 MAIN STREET
                       PO BOX 44
                       SCHOHARIE, NY 12157


                       EASTERN VIEW LANDSCAPING
                       11 HUBER ROAD
                       WAPPINGERS FALLS, NY 12590


                       FUZZY SIDE UP
                       11 RUNNING WATER COURT
                       MEDFORD, NJ 08055
19-36465-cgm   Doc 1   Filed 09/12/19 Entered 09/12/19 10:52:50   Main Document
                                     Pg 41 of 44


                       HOLLAND & KNIGHT
                       10 ST. JAMES AVENUE
                       ATTN: JAMES MCDERMOTT, ESQ.
                       BOSTON, MA 02116


                       HOT WATER SOLUTIONS, INC.
                       31 STONE ROAD
                       WEST HURLEY, NY 12491


                       INTEGRAL BUILDING AND DESIGN, INC.
                       231 MAIN STREET, SUITE 103
                       NEW PALTZ, NY 12561


                       INTERIOR CRAFTSMAN, INC.
                       1 SASEV COURT, #002
                       MONROE, NY 10950


                       JERSEY MONTANA CORP.
                       104 SMITH AVENUE
                       KINGSTON, NY 12401


                       JJP SLIPFORMING, INC.
                       145 WELLS AVENUE
                       MIDDLEBURGH, NY 12122


                       JUAN JOEL GOPAR
                       18 WEST STREET
                       WAPPINGERS FALLS, NY 12590


                       KJW ASSOCIATES, LLC
                       PO BOX 196
                       PULTNEYVILLE, NY 14538


                       KURZON ARCHITECTS
                       90 STATE STREET
                       ALBANY, NY 12207


                       MEYER CONTRACTING CORP.
                       12 CHARLES STREET
                       PLEASANT VALLEY, NY 12569


                       NEW YORK STATE DEPT. OF TAX & FINANCE
                       CIVIL ENFORCEMENT-CO-ATC
                       W A HARRIMAN CAMPUS
                       ALBANY, NY 12227
19-36465-cgm   Doc 1   Filed 09/12/19 Entered 09/12/19 10:52:50   Main Document
                                     Pg 42 of 44


                       NIXON PEABODY LLP
                       437 MADISON AVENUE
                       ATTN: JOHN KELLY, ESQ.
                       NEW YORK, NY 10022-7039


                       PRATT PLUMBING
                       67 PHILLIPS ROAD
                       RENSSELAER, NY 12144


                       PROCTOR PAINTING CO.
                       121 CLOCKS BOULEVARD
                       MASSAPEQUA, NY 11758


                       RBM GUARDIAN FIRE PROTECTION INC.
                       8 ENTERPRISE DRIVE
                       ALBANY, NY 12204


                       RIVERGATE DEVELOPMENT LLC
                       104 SMITH AVENUE
                       KINGSTON, NY 12401


                       ROB KNIESE & SON BUILDING LLC
                       460 DEPOT ROAD
                       DUANESBURG, NY 12056


                       RONDOUT PROPERTIES LTD.
                       104 SMITH AVENUE
                       KINGSTON, NY 12401


                       SCHACHTLER CONTRACTING INC.
                       7430 SHANLEY ROAD
                       DEANSBORO, NY 13328


                       SCHINDLER ELEVATOR CORP.
                       35 HIGH STREET
                       POUGHKEEPSIE, NY 12601


                       SCHOHARIE SENIOR HOUSING DEVELOPMENT
                       FUND CORPORATION
                       C/O BIRCHEZ ASSOC.; 104 SMITH AVE.
                       KINGSTON, NY 12401


                       SCHOHARIE SENIOR HOUSING DEVT FUND CORP
                       104 SMITH AVENUE
                       KINGSTON, NY 12401
19-36465-cgm   Doc 1   Filed 09/12/19 Entered 09/12/19 10:52:50   Main Document
                                     Pg 43 of 44


                       SCHOHARIE SENIOR HOUSING DEVT. FUND CORP
                       104 SMITH AVENUE
                       KINGSTON, NY 12401


                       STARK INDUSTRIES
                       235 VLY ROAD
                       SCHENECTADY, NY 12302


                       STEVEN AARON
                       104 SMITH AVENUE
                       KINGSTON, NY 12401


                       STONE INDUSTRIES LLC
                       4305 ROUTE 50
                       SARATOGA SPRINGS, NY 12866


                       TEMP-AIR, INC.
                       3700 W. PRESERVE BOULEVARD
                       BURNSVILLE, MN 55337


                       THE PALOMBO GROUP INC.
                       6030 ROUTE 82
                       STANFORDVILLE, NY 12581


                       TQ CONSTRUCTION INC.
                       151 SPROUT ROAD
                       VALLEY FALLS, NY 12185


                       VERSATILE OFFICE AND TRAILER
                       527 ROUTE 31
                       PORT BYRON, NY 13140


                       VILLAGE OF SCHOHARIE
                       PO BOX 219
                       SCHOHARIE, NY 12157


                       VILLNAVE CONSTRUCTION SERVICES
                       883 BROADWAY
                       ALBANY, NY 12207


                       WILLIAM O'ROURKE INC.
                       299 UPPER FLAT ROCK ROAD
                       VOORHEESVILLE, NY 12186
19-36465-cgm   Doc 1   Filed 09/12/19 Entered 09/12/19 10:52:50   Main Document
                                     Pg 44 of 44


                       WILSON ELSER MOSKOWITZ EDELMAN & DICKER
                       18 CORPORATE WOODS BOULEVARD, 3RD FLOOR
                       ATTN: CHRISTOPHER PRIORE, ESQ.
                       ALBANY, NY 12211
